  Case 1:22-cv-00880-RGA Document 6 Filed 08/02/22 Page 1 of 1 PageID #: 87




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


IN RE: TK Holdings Inc., et al.              )      Bankruptcy Case No. 17-11375 (BLS)
                                             )
Sonya McNeal,                                )      BAP No. 22-00040
                                             )
               Appellant,                    )
                                             )
                                             )
               v.                            )      C.A. No. 22-880 (RGA)
                                             )
TK Holdings Inc., et al.,                    )
                                             )
               Appellees.                    )



                                            ORDER

               At Wilmington this 2nd day of August, 2022,

the Court having considered the application to proceed in District Court without prepaying fees or

costs under 28 U.S.C. § 1915 (D.I. No.4);

               IT IS ORDERED that the application is GRANTED.




                                                    ______________________________
                                                     /s/ Richard G. Andrews
                                                    UNITED STATE DISTRICT JUDGE
